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                 IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
CANDAISE HARRIS, ON BEHALF OF
MINOR CHILD, TB,

                   Plaintiffs,                Civil Action


          -vs-                                No.

SOUTHEAST DELCO SCHOOL
DISTRICT; DR. STEPHEN D. BUTZ,
SUPERINTENDENT; DR. JEFFREY                   DEMAND FOR JURY TRIAL
RYAN, ASSISTANT SUPERINTEN -
DENT; MR. DENNIS KRAUS,
SUPERVISOR OF TRANSPORTATION;
MS. PATRICIA ROSE, ASSISTANT
SUPERVISOR OF TRANSPORTATION;
MS. MICHELLE MCGLYNN,
SUPERVISOR OF SPECIAL EDUCATION;
MS. CHERYL SMYTHE, SUPERVISOR
OF SPECIAL EDUCATION; MS.
COLLEEN BURKE, SOUTHEAST DELCO
SCHOOL BOARD; MS. THERESA
HARRIS-JOHNSON, PRESIDENT; MRS.
TAMMI FORBES, VICE PRESIDENT;
MRS. DOROTHY GALLAGHER; MS.
RACQUEL IRONS; MR. EDWARD
MCBRIDE; MS. SHEREE MONROE; MR.
CLIFFORD WILSON; DR. SHARON
WILSON; MS. CYNTHIA WOODFOLK;
DR. STEPHEN D. BUTZ,
SUPERINTENDENT; MISS ENIOLA YE
AJIBOYE; MISS NIDIA SCOTT-
ROBINSON; STACEY RAY, PRINCIPAL;
MARK PONTZER, ASSISTANT
PRINCIPAL; CHILD GUIDANCE
RESOURCE CENTERS, INC.; MS.
COLLEEN MCNICHOL, CHIEF
EXECUTIVE, OFFICER; MS. AMY
MEADOWS-MARTELLA, CHIEF
OPERATIONS OFFICER; CHILD
GUIDANCE BOARD OF DIRECTORS;
MR. RONALD EYLER, BOARD CHAIR;
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 MS. CAROL HANSON, VICE CHAIR; MS.
 CATHY DORRICOTT; MR. TIM DILLON;
 MR. JACK LIPPART; MR. MIKE MIELE;
 MR. KEVIN DOLAN; MR. R. GREGORY
 SCOTT; MR. CARL SCHULTZ; MS.
 NICOLE M. RANDALL; MR. ROBERT
 FARRINGTON; MS. CHRISTINE
 REUTHER; MS. MEGAN SCHMIDT; DR.
 MARGARITA LORCH; MR. JAMES
 WILEY; MR. ERIC TRAUGOTT; MR.
 RICHARD KRON; MR. ROGER M. NAUT;
 MS. LUCILLE ARSLANIAN; MR.
 GEORGE JAMES, JR.; COMMUNITY
 TRANSIT OF DELAWARE COUNTY,
 INC.; MR. DAVID TROUT, EXECUTIVE
 DIRECTOR; MS. LISA SOLTNER,
 DIRECTOR OF OPERATIONS;
 DEFENDANT "A"; AND, THOSE OTHER
 PERSONS, CORPORATIONS, FIRMS, OR
 OTHER ENTITIES WHOSE WRONGFUL
 CONDUCT CAUSED OR CONTRIBUTED
 TO CAUSE THE INJURIES AND
 DAMAGES TO PLAINTIFF, ALL OF
 WHOSE TRUE AND CORRECT NAMES
 ARE UNKNOWN TO PLAINTIFFS AT
 THIS TIME, BUT WILL BE
 SUBSTITUTED BY AMENDMENT
 WHEN ASCERTAINED,

                         Defendants



                                        COMPLAINT
      COME NOW the Plaintiffs, by and through counsel, Conrad J. Benedetto, and for their
Complaint against the Defendants, state as follows:
                                       I.      Introduction

       1. This is a civil action arising under Section 504, Rehabilitation Act of 1973 (29 U .S.C.
          Section 794); Individuals with Disabilities Education Improvement Act of2004 (20
          U.S.C. Section 1400); 42 U.S.C. Section 1983; The Due Process Clause of the
          Fourteenth Amendment of the United States Constitution; 22 Pa. Code Section 14; 22
          Pa. Code Section 15; and Commonwealth of Pennsylvania tort laws.
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                                     II.     Parties

2. Plaintiff Candaice Harris is a natural person who is a citizen of the Commonwealth of
   Pennsylvania and a resident of Delaware County. She is the Mother of Plaintiff TB.

3. Plaintiff TB is a natural person who is a citizen of the Commonwealth of
   Pennsylvania and a resident of Delaware County. He is the minor Son of the Plaintiff
   Candaice Harris.

4. The name "TB" is used as a pseudonym, which is used here in order to protect the
   identity of Plaintiff TB, in view of the fact that the Plaintiffs here are both challenging
   government activity, that the information required to be disclosed herein is of the
   utmost privacy, and that Plaintiff TB is a minor. See Doe v. Megless, 645 F.3d 404
   (3d. Cir. 2011).

5. Defendant Southeast Delco School Board is a political subdivision of the
   Commonwealth of Pennsylvania. Defendant may be served by delivering a copy of
   the summons and the Complaint to its chief executive officer Dr. Stephen D. Butz,
   1560 Delmar Drive, Folcroft, PA 19032, pursuant to FRCP 4(j)(2).

6. Defendant Southeast Delco School Board is the District's policymaking body
   responsible for the formulation and implementation of the Southeast Delco School
   District's policies and procedures.

7. Defendants Southeast Delco School Board and Southeast Delco School District are
   alter egos for the purposes of this litigation and are joint tortfeasors and joint state
   actors with respect to each cause of action alleged herein.

8. Defendant Stephen Butz is a natural person who is a citizen of the Commonwealth of
   Pennsylvania and a resident of Delaware County and was at all times relevant to this
   case the superintendent of the Southeast Delco School District. Defendant is sued
   individually and in his official capacity.

9. Defendant Jeffrey Ryan is a natural person who is a citizen of the Commonwealth of
   Pennsylvania and a resident of Delaware County and was at all times relevant to this
   case the assistant superintendent of the Southeast Delco School District. Defendant is
   sued individually and in his official capacity.

10. Defendant Dennis Kraus is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case the supervisor of transportation of the Southeast Delco School District, and was
    directly responsible for the execution of the District's policies relating to school buses
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    and transportation of students. Defendant is sued individually and in his official
    capacity.

11. Defendant Patricia Rose is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case the assistant supervisor of transportation of the Southeast Delco School District,
    and was directly responsible for the execution of the District's policies relating to
    school buses and transportation of students. Defendant is sued individually and in her
    official capacity.

12. Defendant Michelle McGlynn is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
    times relevant to this case the supervisor of special education of the Southeast Delco
    School District, and was directly responsible for the execution of the District's
    policies relating to special education. Defendant is sued individually and in her
    official capacity.

13. Defendant Cheryl Smythe is a natural person who is a citizen of the Commonwealth
    of Pennsylvania and a resident of Delaware County and was at all times relevant to
    this case the supervisor of special education of the Southeast Delco School District,
    and was directly responsible for the execution of the District's policies relating to
    special education. Defendant is sued individually and in her official capacity.

14. Defendant Theresa Harris-Johnson is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
    times relevant to this case the President of the Southeast Delco School Board, and
    was directly responsible for the execution of the District's policies. Defendant is sued
    individually and in her official capacity.

15. Defendant Tammi Forbes is a natural person who is a citizen of the Commonwealth
    of Pennsylvania and a resident of Delaware County and was at all times relevant to
    this case the Vice President of the Southeast Delco School Board, and was directly
    responsible for the execution of the District's policies. Defendant is sued individually
    and in her official capacity.

16. Defendant Dorothy Gallagher is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
    times relevant to this case a Member of the Southeast Delco School Board, and was
    directly responsible for the execution of the District's policies. Defendant is sued
    individually and in her official capacity.

17. Defendant Racquel Irons is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
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    case a Member of the Southeast Delco School Board, and was directly responsible for
    the execution of the District's policies. Defendant is sued individually and in her
    official capacity.

18. Defendant Edward McBride is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
    times relevant to this case a Member of the Southeast Delco School Board, and was
    directly responsible for the execution of the District's policies. Defendant is sued
    individually and in his official capacity.

19. Defendant Sheree Monroe is a natural person who is a citizen of the Commonwealth
    of Pennsylvania and a resident of Delaware County and was at all times relevant to
    this case a Member of the Southeast Delco School Board, and was directly
    responsible for the execution of the District's policies. Defendant is sued individually
    and in her official capacity.

20. Defendant Clifford Wilson is a natural person who is a citizen of the Commonwealth
    of Pennsylvania and a resident of Delaware County and was at all times relevant to
    this case a Member of the Southeast Delco School Board, and was directly
    responsible for the execution of the District's policies. Defendant is sued individually
    and in his official capacity.

21. Defendant Sharon Wilson is a natural person who is a citizen of the Commonwealth
    of Pennsylvania and a resident of Delaware County and was at all times relevant to
    this case a Member of the Southeast Delco School Board, and was directly
    responsible for the execution of the District's policies. Defendant is sued individually
    and in her official capacity.

22. Defendant Cynthia Woodfolk is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
    times relevant to this case a Member of the Southeast Delco School Board, and was
    directly responsible for the execution of the District's policies. Defendant is sued
    individually and in her official capacity.

23. Defendant Eniolaye Ajiboye is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
    times relevant to this case a Member of the Southeast Delco School Board, and was
    directly responsible for the execution of the District's policies. Defendant is sued
    individually and in her official capacity.

24. Defendant Nidia Scott-Robinson is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
    times relevant to this case a Member of the Southeast Delco School Board, and was
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   directly responsible for the execution of the District's policies. Defendant is sued
   individually and in her official capacity.

25. Defendant Stacey Ray is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case principal of the Delcroft Elementary School at the time relevant to this case.
    Defendant is sued individually and in her official capacity.

26. Defendant Mark Porter is a natural person who is a citizen of the Commonwealth. of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case assistant principal of the Delcroft Elementary School at the time relevant to this
    case. Defendant is sued individually and in his official capacity.

27. Defendant Child Guidance Resource Centers, Inc. is a non-profit organization
    operating in the Commonwealth of Pennsylvania. Child Guidance Resource Centers,
    Inc. is duly organized and existing under the laws of the Commonwealth of
    Pennsylvania, and conducts substantial operations at 2000 Old West Chester Pike,
    Havertown, Pennsylvania 19083.

28. Defendant Colleen McNichol is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
    times relevant to this case the Chief Executive Officer of Child Guidance Resources
    Centers, Inc. Defendant is sued individually and in her official capacity.

29. Defendant Amy Meadows-Martella is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
    times relevant to this case the chief operations cfficer of Child Guidance Resources
    Centers, Inc. Defendant is sued individually and in her official capacity.

30. Defendant Ronald Eyler is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case the Chair of the Board of Directors of Child Guidance Resources Centers, Inc.
    Defendant is sued individually and in his official capacity.

31. Defendant Carol Hanson is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case the Vice Chair of the Board of Directors of Child Guidance Resources Centers,
    Inc. Defendant is sued individually and in her official capacity.

32. Defendant Cathy Dorricott is a natural person who is a citizen of the Commonwealth
    of Pennsylvania and a resident of Delaware County and was at all times relevant to
    this case a Member of the Board of Directors of Child Guidance Resources Centers,
    Inc. Defendant is sued individually and in her official capacity.
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33. Defendant Tim Dillon is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case a Member of the Board of Directors of Child Guidance Resources Centers, Inc.
    Defendant is sued individually and in his official capacity.

34. Defendant Jack Lippart is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case a Member of the Board of Directors of Child Guidance Resources Centers, Inc.
    Defendant is sued individually and in his offi.cial capacity.

35. Defendant Mike Miele is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case a Member of the Board of Directors of Child Guidance Resources Centers, Inc.
    Defendant is sued individually and in his official capacity.

36. Defendant Kevin Dolan is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case a Member of the Board of Directors of Child Guidance Resources Centers, Inc.
    Defendant is sued individually and in his official capacity.

37. Defendant R. Gregory Scott is a natural person who is a citizen of the Commonwealth
    of Pennsylvania and a resident of Delaware County and was at all times relevant to
    this case a Member of the Board of Directors of Child Guidance Resources Centers,
    Inc. Defendant is sued individually and in his official capacity.

38. Defendant Carl Schultz is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case a Member of the Board of Directors of Child Guidance Resources Centers, Inc.
    Defendant is sued individually and in his official capacity.

39. Defendant Nicole Randall is a natural person who is a citizen of the Commonwealth
    of Pennsylvania and a resident of Delaware County and was at all times relevant to
    this case a Member of the Board of Directors of Child Guidance Resources Centers,
    Inc. Defendant is sued individually and in her official capacity.

40. Defendant Robert Farrington is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
    times relevant to this case a Member of the Board of Directors of Child Guidance
    Resources Centers, Inc. Defendant is sued individually and in his official capacity.

41. Defendant Christine Reuther is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
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    times relevant to this case a Member of the Board of Directors of Child Guidance
    Resources Centers, Inc. Defendant is sued individually and in her official capacity.

42. Defendant Megan Schmidt is a natural person who is a citizen of the Commonwealth
    of Pennsylvania and a resident of Delaware County and was at all times relevant to
    this case a Member of the Board of Directors of Child Guidance Resources Centers,
    Inc. Defendant is sued individually and in her official capacity.

43. Defendant Dr. Margarita Lorch is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
    times relevant to this case a Member of the Board of Directors of Child Guidance
    Resources Centers, Inc. Defendant is sued individually and in her official capacity.

44. Defendant James Wiley is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case a Member of the Board of Directors of Child Guidance Resources Centers, Inc.
    Defendant is sued individually and in his official capacity.

45. Defendant Eric Traugott is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case a Member of the Board of Directors of Child Guidance Resources Centers, Inc.
    Defendant is sued individually and in his official capacity.

46. Defendant Richard Kron is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case a Member of the Board of Directors of Child Guidance Resources Centers, Inc.
    Defendant is sued individually and in his official capacity.

4 7. Defendant Roger N aut is a natural person who is a citizen of the Commonwealth of
     Pennsylvania and a resident of Delaware County and was at all times relevant to this
     case a Member of the Board of Directors of Child Guidance Resources Centers, Inc.
     Defendant is sued individually and in his official capacity.

48. Defendant Lucille Arslanian is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
    times relevant to this case a Member of the Board of Directors of Child Guidance
    Resources Centers, Inc. Defendant is sued individually and in her official capacity.

49. Defendant George James, Jr. is a natural person who is a citizen of the
    Commonwealth of Pennsylvania and a resident of Delaware County and was at all
    times relevant to this case a Member of the Board of Directors of Child Guidance
    Resources Centers, Inc. Defendant is sued individually and in his official capacity.
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50. Defendant Community Transit of Delaware County, Inc. is a non-profit organization
    operating in the Commonwealth of Pennsylvania. Community Transit of Delaware
    County, Inc. is duly organized and existing under the laws of the Commonwealth of
    Pennsylvania, and conducts substantial operations at 206 Eddystone Avenue, Suite
    200, Eddystone, Pennsylvania 19022.

51. Defendant David Trout is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case the Executive Director of Community Transit of Delaware County, Inc.
    Defendant is sued individually and in his official capacity.

52. Defendant Lisa Soltner is a natural person who is a citizen of the Commonwealth of
    Pennsylvania and a resident of Delaware County and was at all times relevant to this
    case the Director of Operations of Community Transit of Delaware County, Inc.
    Defendant is sued individually and in her official capacity.

53. Defendant "A" is a natural person who is a citizen and resident of the Commonwealth
    of Pennsylvania and was at all times relevant to this case a van driver for Defendant
    Community Transit of Delaware County, Inc. and drove the van that Plaintiff TB was
    assigned to. Defendant is sued individually and in his official capacity.



                           III.     Jurisdiction and Venue

54. This Court has jurisdiction over the litigation herein pursuant to 28 U.S.C. Section
    1331, as the action arises under Federal law, specifically 29 U.S.C. Section 794, 20
    U.S.C. Section 1400, 42 U.S.C. Section 1983, and the Due Process Clause of the
    Fourteenth Amendment to the United States Constitution.

55. This Court has supplemental jurisdiction pursuant to 28 U.S.C. Section 1367 over
    Plaintiffs state tort claims because the claims are so related to the claims within the
    Court's original jurisdiction that they form part of the same case or controversy under
    Article III of the United States Constitution.

56. Venue is proper pursuant to 28 U.S.C. Section 139l(b)(l) as this Court encompasses
    a judicial district where any Defendant resides and all Defendants reside in the
    Commonwealth of Pennsylvania.



                                      IV.   Facts

57. Plaintiff TB was 7 years old during the 2017-2018 school year. TB was enrolled in
    an after school autism program at Defendant Child Guidance Resource Centers, Inc.
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    At all times relevant hereto, TB has autism and attention-deficit/hyperactivity
    disorder (ADHD).


58. At all times relevant hereto, during the 2017-2018 school year, Plaintiff TB took a
    van operated by Defendant Community Transit of Delaware County, Inc. from TB's
    home to his autism program at Defendant Child Guidance Resource Centers, Inc. At
    the end of program, TB would be returned to his home via van operated by
    Community Transit of Delaware County.

59. At all times relevant hereto, Defendant Community Transit of Delaware County
    requested that Plaintiff Candaice Harris, PlaintiffTB's Mother, allow TB to be picked
    up at his elementary school (Delcroft Elementary School), instead of at his home, due
    to scheduling difficulties. Ms. Harris agreed to this arrangement. October 10, 2017
    was the first day said arrangement was implemented.

60. At all times relevant hereto, on October 10, 2017, Defendant "A," a van driver,
    picked up Plaintiff TB after TB's after school program concluded at Defendant Child
    Guidance Resource Centers. The van had 5 rows of seats, and there were 5 children
    on the bus, including TB. TB would be the last child to be dropped off at home.


61. At all times relevant hereto, Defendants's policy or custom was that the van driver
    utilized an IPAD to mark a child off as he or she was dropped off at their destination.
    Apparently, Plaintiff TB, who was sitting in the back row, fell asleep. The Defendant
    "A" apparently marked TB off as having been delivered to his destination and
    subsequently drove to the location where Defendant Community Transit of Delaware
    County parked its vans and left TB in the van.


62. At all times relevant hereto, Plaintiff Candaise Harris received a telephone call from a
    representative of Defendant Community Transit of Delaware County. Said
    representative informed Ms. Harris that Plaintiff TB had been left in the van; that they
    were conducting an investigation; and that the workers who left him in the van would
    be penalized. Ms. Harris was further informed that a "person" was walking by the
    location where Community Transit of Delaware County parked its vans and saw TB
    in the van, and informed the office were the van had been parked. A "supervisor"
    employed by Community Transit of Delaware County arrived at Ms. Harris's home
    just prior to TB' s arrival.

63. At all times relevant hereto, when Plaintiff TB arrived home, he was very upset, his
    face was ashy white, and he had dried tears on his face.
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64. At all times relevant hereto, PlaintiffTB's Grandmother, Ms. Alicia Harris, contacted
    Fox News 29 and informed them of this matter. Fox News 29 said they would
    investigate. The following day, October 11, 2017, Fox News 29 contacted Plaintiff
    Candaise Harris and informed her that the defendant Community Transit of Delaware
    County had informed Fox News that the employees involved would be penalized.

65. At all times relevant hereto, Plaintiff TB had been involved in a previous incident,
    which is the subject of a separate lawsuit, where he had been left on a school bus
    operated by Defendant Southeast Delco School District. Defendant Delcroft
    Elementary School is within the school district of Defendant Southeast Delco School
    District. Defendant Delcroft Elementary School should have foreseen the risk that due
    to his ADHD and autism, Plaintiff TB could be left on the school van operated by
    Defendant Community Transit of Delaware County, Inc. and informed Defendant
    Community Transit of Delaware County, Inc. of said risk.

66. At all times relevant hereto, Defendants Community Transit of Delaware County, Inc.
    and Child Guidance Resources Centers, Inc. should have foreseen that their failure
    to adequately train van drivers, including Defendant "A," regarding the transportation
    of children with autism and ADHD would lead to injury to said students.

67. At all times relevant hereto, Defendants and each of them were acting under color of
    the laws and regulations of the Commonwealth of Pennsylvania. The Defendants had
    policies and customs in place that enabled its agents and employees to act with
    deliberate indifference to the constitutional rights of Plaintiff TB.

68. At all times relevant hereto, as a direct and proximate cause of Defendants inadequate
    policies and/or customs and Defendants failure to adequately train Defendant "A,"
    Plaintiff TB was not properly discharged from Defendant Community Transit of
    Delaware County, Inc.'s van on 10/10/2017 and as a result was left alone for an
    extended period in the van in the location where Defendant Community Transit of
    Delaware County parked its vans and Plaintiff TB sustained considerable injuries as a
    result. Said injuries include: immediate trauma experienced as a result of being left
    on the van (when Plaintiff TB arrived home, he was very upset, his face was ashy
    white, and he had dried tears on his face ); TB has not been as active as he was prior
    to this incident; TB began wetting his bed, which he had not done prior to this
    incident; and TB and Plaintiff Candaice Harris no longer want TB to take the van
    operated by Defendant Community Transit of Delaware County, Inc. Defendants
    Child Guidance Resource Centers, Inc. and Community Transit of Delaware County
    refused to provide TB with an alternative means of transportation. As a result, TB no
    longer attends an autism after school program, which has caused him irreparable
    harm.
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69. At all times relevant hereto, Plaintiffs allege that Defendants Community Transit of
    Delaware County, Inc. and Defendant Child Guidance Resource Centers, Inc. receive
    funding directly or indirectly from the United States Government and the
    Commonwealth of Pennsylvania in support of their operations.

                V.     Count I - Violation of Constitutional Rights

70. Paragraphs 1 through 69 are herein realleged and incorporated by reference.

71. The exercise of these established policies and customs violated Plaintiff TB's clearly
    established rights under the United States Constitution to freedom from bodily injury,
    a liberty interest protected by the Due Process Clause of the Fourteenth Amendment
    of the United States Constitution.



     VI.    Count 2 - 42 U.S.C. Section 1983 Against Individual Defendants

72. Paragraphs 1 through 71 are herein realleged and incorporated by reference.

73. The constitutional deprivation alleged in paragraph 68 above was the result of the
    implementation and execution of the unconstitutional policies and customs alleged in
    paragraph 60 through 67 above by Defendants Butz, Ryan, Kraus, Rose, McGynn,
    Smythe, Burke, Byrd, Coybourn, Harris-Johnson, Forbes, Gallagher, Irons, McBride,
    Monroe, Clifford Wilson, Sharon Wilson, Woodfolk, Ajiboye, and Scott-Robinson,
    Ray, Pontzer, McNichol, Meadows-Martella, Eyler, Hanson, Dorricott, Dillon,
    Lippart, Miele, Dolan, Scott, Schultz, Randall, Farrington, Reuther, Schmidt, Lorch,
    Wiley, Traugott, Kron, Naut, Arslanian, James, Trout, and Soltner, who were school
    officials or employees; and/or receive funding directly or indirectly from the United
    States Government in support of their operations.



             VII.    Count 3 - Section 504, Rehabilitation Act of 1973


74. Paragraphs 1 through 73 are herein realleged and incorporated by reference.


75. Local educational agencies may not exclude, in a discriminatory manner, individuals
   with disabilities from participation in any program or activities. See 29 U.S.C.
   Section 794. The Defendant "A'"s egregious act ofleaving Plaintiff TB alone on a
   van in the location where Defendant Community Transit of Delaware County parked
   its vans is tantamount to discrimination as it left Plaintiff TB so traumatized that he
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    refused to take the van any longer thereby depriving him of that means of
    transportation to the after school autism program. Defendants Child Guidance
    Resource Centers, Inc. and Community Transit of Delaware County refused to
    provide TB with an alternative means of transportation. As a result, TB no longer
    attends an autism after school program and, therefore, is no longer able to received
    services in the least restrictive manner as provided for by Section 504. See 29 U.S.C.
    Section 794.


VIII. Count 4 - Individuals With Disabilities Education Improvement Act of 2004
                                      UDEIA)


 76. Paragraphs 1 through 75 are herein realleged and incorporated by reference.

77. The IDEIA mandates that students with disabilities must receive a "free appropriate
    education" (PAPE). See 20 U.S.C. Section 1400. The IDEIA requires the provision
    of specialized instruction and related services such that the child receives "sufficient
    educational benefits to satisfy the requirements of the ACT." See Bd. of Educ. v.
    Rowley, 458 U.S. 176, 102 S. Ct. 3034, 73 L. Ed. 2d 690, 1982 U.S. LEXIS 10, 50
    U.S.L.W. 4925.

 78. The Defendants "A"'s egregious act of leaving Plaintiff TB alone in a van in the
     location where Defendant Community Transit of Delaware County parked its vans
     amounted not to an educational benefit, but to a detriment to the Plaintiff TB in
     violation of the provisions of the IDEIA.


                      IX.     Count 5-22 Pa. Code Section 14


 79. Paragraphs 1 through 78 are herein realleged and incorporated by reference.

80. Chapter 14, Title 22 of the Pennsylvania Code incorporates by reference all the
    Federal requirements of the IDEIA. See 22 Pa. Code Section 14.102. Hence,
    Defendants are liable to the Plaintiffs under Pennsylvania law pursuant to the
    violations of the IDEIA as alleged in Paragraphs 76 through 78.
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                      X.      Count 6 - 22 Pa. Code Section 15


81. Paragraphs 1 through 80 are herein realleged and incorporated by reference.

82. Chapter 15, Title 22 of the Pennsylvania Code addresses a school districts's
    responsibilities pursuant to Section 504 of The Rehabilitation Act of 1973. See 22 Pa.
    Code Section 15.l(a). Hence, Defendants are liable to the Plaintiffs under
    Pennsylvania law pursuant to the violations of Section 504 as alleged in Paragraphs
    74 through 75.

83. Chapter 15 of Title 22 indicates that a student filing a discrimination claim need not
    exhaust the procedures in Chapter 15 prior to initiating a court action under Section
    504. See 22 Pa. Code Section 15.10.


                             XI.    Count 7 - Negligence


84. Paragraphs 1through83 are herein realleged and incorporated by reference.

85. As indicated in Paragraphs 59 through 68, Defendants Southeast Delco School
    District, Southeast Delco School Board, Defendants Child Guidance Resource
    Centers, and Community Transit of Delaware County, Inc. developed policies and
    customs that were inadequate for the safe transportation of students with disabilities;
    also said Defendants failed to adequately train Defendant "A." Said inadequate
    policies and customs, as well as failure to adequately train its student transportation
    employees, including Defendant "A," are patently obvious as Plaintiff TB, as student
    with autism and ADHD, was left alone on a van in the location where Defendant
    Community Transit of Delaware County parked its vans for an extended period of
    time, said period of time shall be accessed during discovery.

86. Said inadequate policies and customs, as well as failure to adequately train its student
    transportation employees constitute negligence.

87. Defendant "A" was at all times relevant hereto acting within the course and scope of
    his employment duties with Defendant Community Transit of Delaware County.

88. It was foreseeable that the lack of adequate policies, customs and van driver training
    would result in substantial harm to a student with ADHD and autism, such as Plaintiff
    TB.
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89. PlaintiffTB's injuries were the direct and proximate result of Defendant's lack of
    adequate policies, customs and van driver training. Said injuries included: immediate
    trauma experienced as a result of being left in the van (when Plaintiff TB arrived
    home, he was very upset, his face was ashy white, and he had dried tears on his face
    ); TB has not been as active as he was prior to this incident; TB began wetting his
    bed, which he had not done prior to this incident; and TB and Plaintiff Candaice
    Harris no longer want TB to take the van operated by Defendant Community Transit
    of Delaware County, Inc. Defendants Child Guidance Resource Centers, Inc. and
    Community Transit of Delaware County, Inc. refused to provide TB with an
    alternative means of transportation. As a result, TB no longer attends an autism after
    school program, which has caused him irreparable harm.

90. Plaintiffs are entitled to recover, in addition, under the vehicle exception of the Tort
    Claims Act, as PlaintiffTB's injuries occurred on a van operated by Defendant
    Community Transit of Delaware County, Inc. See 42 Pa.C.S. Section 8553.

91. Defendants Southeast Delco School District and Southeast Delco School Board are
    liable for each act of negligence alleged herein pursuant to the principle of respondeat
    supenor.


                                    XII.    Damages


92. As a direct and proximate result of negligence, violation of state and Federal statutes
    and the United States Constitution alleged hereinabove, Plaintiff TB suffered the
    following injuries and damages:

       a. Medical Expenses in the past and future; and
       b. Psychological pain and suffering, mental anguish and emotional distress in the
          past and future

93. As a direct and proximate result of negligence, violation of state and Federal statutes
    and the United States Constitution alleged hereinabove, Plaintiff Candaice Harris
    suffered the following injuries and damages:

       a. Psychological pain and suffering, mental anguish and emotional distress in the
          past and future.



                                 XIII. Attorney Fees
       Case 2:18-cv-05654-HB         Document 1        Filed 12/06/18           Page 16 of 19




       94. It was necessary for Plaintiffs to hire the undersigned attorney to file this lawsuit.
           Upon judgment, Plaintiffs are entitled to an award of attorney fees and costs pursuant
           to 20 U.S.C.A. § 1415(i)(3)(B)(i).


                                       XIV.    Jury Demand



      95. Plaintiffs demand trial by jury on each and every cause of action.


                                     XV.      Prayer for Relief



      96. For the foregoing reasons, Plaintiff respectfully prays for judgment against
          Defendants as follows:

              a.   Compensatory damages in excess of One Million Dollars (US$1,000,000);
              b.   Punitive damages in excess of One Million Dollars (US$1,000,000);
              c.   Prejudgment and postjudgment interest as allowed by law;
              d.   Attorney Fees;
              e.   Costs of suit; and
              f.   All other relief that the Court may deem just and proper.




Respectfully submitted this _ _ _ day of          2018.




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                          Case 2:18-cv-05654-HB                                                Document 1                   Filed 12/06/18                                 Page 17 of 19


  JS 44 (Rev. 06117)                                                                      CIVIL COVER SHEET
  The JS 44 civil cover sheet and the 1111bnmllion contnincd herein neither replace nor supplement the tiling and service or pleadini;s or other papers as requ1rea oy law, e~ccpt as
  provided by local rules of court. Ttus form. approved by the Judicial Conference ol"thc lJnited States in September t 974. is rcqmrcd for the use of the Clerk of Court for the
  purpose of initiating the civil docker sheet. (Slifi INSl'llU< Tl( INS 1JN Nl:XT !'AW< r w 111/S HJ/IAl.J

  I. (a) PLAINTlFFS Candaise Harris, on Behalf of Minor Child, TB, and sij~fifllMMl'@j§.co SCHOOL DISTRICT; DR. STEPHEN D. BUTZ,
  Candaise Harris                                                      SUPERINTENDENT; DR. JEFFREY RYAN, ASSISTANT
                                                                       SUPERINTENDENT; MR. DENNIS KRAUS, SUPERVISOR OF
                                                                                                                        TnA ....... n,.,,,.,TATll""\U. k•l"            nATnlr"IA          ""i"'r-. At""r'llt""lfo'\11.tT
     (b) County of Residence ofFirsl L1s1ed Plaintiff                                                                     County of Residence of First Lislcd Octendnnt
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     (c) Attorneys(,..;,,,, Nanu.•, A1hfn•.'i.~, "'"' l"t>lt!pltmrt•                                                       Allorneys (lfKnoll'n}




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\                    Case 2:18-cv-05654-HB                                   Document 1                                      Filed 12/06/18                    Page 18 of 19

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     RELATED CASE, IF ANY:

     Case Number:                                                                                                                                        Date Terminated:

     Civil cases are deemed related when Yes is answered to any oflhc following queslions:

     I.   Is this case related lo property included in an earlier numbered suit pending or within one year                                                     YesD            No~
          previously tenninatcd action in this court?

     2.   Does this case involve the same issue of fact or grow out of the same transaction as a prior suit
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    4.    ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights                                                    YesD            NoD
          case filed by the same individual?

    l certify that, to my knowledge, the within ca·                                                                   y case now pending or within one yenr previously tcnninated action in
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    D          Jones Act-Personal Injury                                                                          D         3.   Assault, Dcliunation
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               Patent                                                                                             D 5.           Motor Vehicle Personal Injury
               Labor-Management Relations                                                                         D 6.           Other Personal Injury (P/ease>peL'ijj1: _ _ _ _ _ _ _ __
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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                       CASE MANAGEMENT TRACK DESIGNATION FORM
                                                                             CIVIL ACTION

                        v.
                                                                             NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ I :03 of the plan set fo11h on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )

(d) Asbestos -Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )

(e) Special Management- Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intens~ management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks.



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Date/         /    '                                                    Attorney for



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